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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


 Valerie Carlo                       ,

                      Plaintiff,

       v.                                            Case No.: 24-cv-03643-NRM-JRC
 Abrams Fensterman, LLP, et al
                                     ,

                      Defendant.

                           [PROPOSED] SCHEDULING ORDER

       Upon consent of the parties, it is hereby ORDERED as follows:

 1.    Date for completion of automatic disclosures required by Rule 26(a)(1) of the Federal

       Rules of Civil Procedure, if not yet made: 07/17/24 .

 2.    No amendment of the pleadings will be permitted after: 09/17/24             .

 3.    No additional parties may be joined after: 09/17/24          .

 4.    Fact discovery shall be completed by: 01/17/25               .
       (Generally, this date must be no later than 6 months after the Initial Conference.)

 5.    The parties shall make required Rule 26(a)(2) disclosures, if any, with respect to:

       (a)    expert witnesses on or before 02/17/25 .

       (b)    rebuttal expert witnesses on or before 03/17/25               .
                                                                                04/17/25
 6.    All discovery, including depositions of experts, shall be completed by:             .
       (Generally, this date must be no later than 9 months after the Initial Conference.)

 7.    Final date to take first step in dispositive motion practice, if any: 02/17/25 .
       (Parties are directed to consult the District Judge’s Individual Practices and Rules
       regarding such motion practice.)

 8.    Have the parties agreed to a plan regarding electronic discovery (yes/no)? yes .

 9.    Should the Court hold an early settlement conference (yes/no)? no           .
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        (Prior to the Initial Conference, counsel shall discuss with their clients and their
        adversaries whether an early settlement conference, or other form of alternative dispute
        resolution, is appropriate and be prepared to explain their reasons to the Court.)

 10.    Do the parties wish to be referred to the EDNY’s Court-annexed mediation program

        pursuant to Local Civil Rule 83.8 (yes/no)? no       .

 11.    Do the parties consent to trial before a magistrate judge pursuant to 28 U.S.C. § 636(c)

        (yes/no)? no                  .
        (Answer no if any party declines to consent without indicating which party has declined.)

        If parties answer yes, then fill out the AO 85 (Rev. 02/17) Notice, Consent, and
        Reference of a Civil Action to a Magistrate Judge form. The form can be accessed at the
        following link: https://www.uscourts.gov/sites/default/files/ao085.pdf. Consenting does
        not affect a party’s right to a jury trial.

 12.    Other matters:

        This Scheduling Order may be altered or amended upon a showing of good cause not

 foreseeable at the date hereof.

 CONSENTED TO BY:

 Attorney for Plaintiff

     Name: Emma Caterine, The Law Office of Ahmad Keshavarz
   Address: 16 Court Street, #2600, Brooklyn, NY 11241
 Telephone: (718) 522-7900
     Email: emma@newyorkconsumerattorney.com

 Attorney for Defendant

     Name: Keith Singer, Abrams Fensterman, LLP
   Address: 3 Dakota Drive, Suite 300, Lake Success, NY 11042
 Telephone: 516-328-2300 x106
     Email:
            KSinger@Abramslaw.com
 SO ORDERED:



 JAMES R. CHO                                                Date
 United States Magistrate Judge
                                                 2
                                                                                      Rev. 4-19-2021
